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                                                                          1   Damian J. Martinez (SBN # 200159)
                                                                              Michael (Akiva) Newborn (SBN # 305929)
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                                                                              Attorneys for Non-Parties John C. Coates and Cornerstone Research Inc.
                                                                          6

                                                                          7                                    UNITED STATES DISTRICT COURT
                                                                          8                                NORTHERN DISTRICT OF CALIFORNIA
                                                                          9                                         SAN FRANCISCO DIVISION
                                                                         10
LEECH TISHMAN NELSON HARDIMAN, INC.




                                                                         11    GIUSEPPE PAMPENA, individually and on               Case No.: 3:22-cv-05937-CRB
                                                                               behalf of all others similarly situated,
                                                                         12
                                      1100 GLENDON AVENUE, 14TH FLOOR,




                                                                                                                                   Judge: Hon. Charles R. Breyer
                                                                         13                            Plaintiff,                  Magistrate Judge: Hon. Donna M. Ryu
                                            LOS ANGELES, CA 90024
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                                                                         14            vs.                                         STIPULATION ON FILING DEADLINE
                                                                                                                                   FOR JOINT DISCOVERY LETTER AND
                                                                         15    ELON MUSK,                                          [PROPOSED] ORDER
                                                                         16
                                                                                                       Defendant.                  Complaint Filed: October 10, 2022
                                                                         17                                                        Trial Date: Not Set

                                                                         18

                                                                         19                                                 STIPULATION

                                                                         20          Pursuant to Civil Local Rule 7-12, Plaintiff Giuseppe Pampena and others similarly situated

                                                                         21   (“Plaintiffs”), non-party and movant John Coates (“Coates”), and Cornerstone Research Inc.

                                                                         22   (“Cornerstone Research”) (Plaintiffs, Coates, and Cornerstone Research Inc. shall collectively be referred

                                                                         23   to hereafter as the “Stipulating Parties”) jointly stipulate as follows:

                                                                         24          WHEREAS, on February 28, 2025, Plaintiffs served Coates a subpoena calling for his deposition

                                                                         25   testimony and production of the following documents: (1) all final expert reports that Coates authored

                                                                         26   and that any party submitted to the Court or the opposing party in Twitter, Inc. v. Elon R. Musk, et al.

                                                                         27   C.A. No. 2022-0613-KSJM (the “Delaware Action”), (2) all documents on which Coates relied for
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                                                                                             STIPULATION ON FILING DEADLINE FOR JOINT DISCOVERY LETTER
                                                                                                                AND [PROPOSED] ORDER
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                                                                          1   purposes of, or which support, the opinion(s) stated in any final expert report that Coates authored and

                                                                          2   that any party submitted to the Court or the opposing party in the Delaware Action, and (3) any final

                                                                          3   expert reports authored by others in the Delaware Action that any party submitted to the Court or the

                                                                          4   opposing party in the Delaware Action.

                                                                          5           WHEREAS, on February 27, 2025, Plaintiffs served Cornerstone Research a subpoena calling for

                                                                          6   its production of the following documents: (1) all final expert reports that any party submitted to the

                                                                          7   Court or the opposing party in the Delaware Action, and (2) all documents on which any expert relied for

                                                                          8   purposes of, or which support, the opinion(s) stated in any final expert report that any party submitted to

                                                                          9   the Court or the opposing party in the Delaware Action.

                                                                         10           WHEREAS, on March 19, 2025, Coates filed with this Court a motion to quash the subpoena
LEECH TISHMAN NELSON HARDIMAN, INC.




                                                                         11   (ECF # 141). On March 25, 2025, this Court denied that motion without prejudice (ECF # 152). In that

                                                                         12   order, the Court directed Coates and Plaintiffs to further meet and confer and if the parties were unable
                                      1100 GLENDON AVENUE, 14TH FLOOR,




                                                                         13   to reach an agreement to file a joint letter with the Court on April 8, 2025.
                                            LOS ANGELES, CA 90024
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                                                                         14           WHEREAS, on March 31, 2025, the Stipulating Parties’ respective counsel met and conferred

                                                                         15   regarding the subpoenas and after doing so, both sides determined they had reached an impasse on the

                                                                         16   issues presented. Further, the Stipulating Parties determined that a Joint Letter to be submitted should

                                                                         17   address both: 1) Plaintiffs’ subpoena to Coates, the subject of the prior Motion and Ruling and 2)

                                                                         18   Plaintiffs’ subpoena to Cornerstone Research. (Counsel for Coates also represents Cornerstone Research

                                                                         19   in this matter.)

                                                                         20           WHEREAS, on March 31, 2025, Plaintiffs and Defendant Elon Musk (“Musk”) filed with this

                                                                         21   Court a Joint Letter (ECF # 160) regarding Plaintiffs’ demand that Musk produce the expert reports that

                                                                         22   Twitter had produced to him in the Delaware Action. (ECF # 160).

                                                                         23           WHEREAS, on April 7, 2025, the Court entered an order that the Stipulating Parties submit a

                                                                         24   Joint Letter regarding Plaintiffs’ subpoena to Coates three days after the Court issues a ruling on the Joint

                                                                         25   Letter (ECF # 160) submitted by Plaintiffs and Musk.

                                                                         26           WHEREAS, on May 13, 2025, the Court entered an order (ECF # 205) that Musk produce the

                                                                         27   expert reports from the Delaware Action, including a report authored by Coates, by May 16, 2025.
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                                                                                          STIPULATION ON FILING DEADLINE FOR JOINT DISCOVERY LETTER
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                                                                          1           WHEREAS, the Stipulating Parties believe they will be in a better position to assess their need to

                                                                          2   depose Coates, and to address and/or resolve their dispute over Plaintiffs’ subpoenas to Coates and

                                                                          3   Cornerstone Research, after Plaintiffs have received and had sufficient time to review the expert reports

                                                                          4   as produced by Musk.

                                                                          5           WHEREAS, on May 15, 2025, the Stipulating Parties filed with this Court a stipulation and

                                                                          6   proposed order to continue the deadline to file the Joint Letter with respect to Plaintiffs’ subpoena to

                                                                          7   Coates to May 28, 2025. (ECF # 209). This Court granted the stipulation and ordered the deadline to

                                                                          8   file a Joint Motion be extended to May 28. (ECF # 211). Since then, counsel for the Stipulating Parties

                                                                          9   met and conferred on May 21, May 23 and May 27 and have substantially narrowed the scope of their

                                                                         10   dispute. More specifically, in the afternoon of May 23, Plaintiffs’ counsel made a proposal to Coates’
LEECH TISHMAN NELSON HARDIMAN, INC.




                                                                         11   counsel that potentially avoids motion practice before this Court regarding the Coates’ subpoena.

                                                                         12   Undersigned counsel for non-party Coates was unable to provide a response to that proposal by close of
                                      1100 GLENDON AVENUE, 14TH FLOOR,




                                                                         13   business May 23 and Monday, May 26, was a holiday. On May 27, Coates’ counsel was in client
                                            LOS ANGELES, CA 90024
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                                                                         14   meetings and he needed to prepare for a hearing in Los Angeles County Superior Court scheduled for

                                                                         15   May 28, so he was unable to provide a response to Plaintiffs’ proposal and requires additional time to do

                                                                         16   so. The Stipulating Parties have conferred and agreed based on the foregoing and in the interest of

                                                                         17   conserving judicial resources that good cause exists for the filing date of their Joint Letter to be further

                                                                         18   postponed to June 2, 2025. The Stipulating Parties fully anticipate that no further extensions will be

                                                                         19   requested and they will either resolve their dispute between themselves by the new deadline or submit a

                                                                         20   Joint Letter on that date.

                                                                         21           IT IS THEREFORE HEREBY STIPULATED AND AGREED by the Stipulating Parties hereto,

                                                                         22   through their undersigned counsel, subject to the approval of the Court that:

                                                                         23           1.      The joint letter by Plaintiffs and Coates shall be due on June 2, 2025.

                                                                         24           2.      The fact discovery cut-off shall be extended for the limited purpose allowing Plaintiffs

                                                                         25   to obtain, or seek to obtain, the document and deposition discovery described herein from Coates and/or

                                                                         26   Cornerstone Research.

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                                                                          1   DATED: May 28, 2025

                                                                          2
                                                                              _/s/ Damian J. Martinez__________________      /s/ Aaron Arnzen
                                                                          3   LEECH TISHMAN NELSON HARDIMAN, INC.            BOTTINI & BOTTINI, INC.
                                                                              Damian J. Martinez (SBN # 200159)              Francis A. Bottini, Jr. (SBN: 175783)
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                                                                              Facsimile: (424) 738-5080                      La Jolla, California 92037
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                                                                                                                             Telephone: (858) 914-2001
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                                                                         10   Cornerstone Research, Inc.                     Joseph W. Cotchett (SBN 36324)
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                                                                                                                             Gia Jung (SBN 340160)
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                                                                                                                             Telephone: (650) 697-6000
                                                                         18
                                                                                                                             Lead Counsel for Plaintiffs and the Class
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                                                                          1                   ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(i)(3)

                                                                          2          I, Damian J. Martinez, attest that concurrence in the filing of this document has been obtained

                                                                          3   from the other signatories. I declare under penalty of perjury under the laws of the United States of

                                                                          4   America that the foregoing is true and correct.

                                                                          5

                                                                          6          Executed this 28th day of May 2025 at Los Angeles, California.

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                                                                          8                                                     By /s/ Damian J. Martinez
                                                                                                                                  Damian J. Martinez
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LEECH TISHMAN NELSON HARDIMAN, INC.




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                                      1100 GLENDON AVENUE, 14TH FLOOR,




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                                            LOS ANGELES, CA 90024
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                                                                          1                                 [PROPOSED] ORDER

                                                                          2        PURSUANT TO STIPULATION, IT IS SO ORDERED.

                                                                          3

                                                                          4

                                                                          5   DATED: ____________                       _______________________________
                                                                                                                        HONORABLE DONNA M. RYU
                                                                          6                                             UNITED STATES MAGISTRATE JUDGE
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LEECH TISHMAN NELSON HARDIMAN, INC.




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                                      1100 GLENDON AVENUE, 14TH FLOOR,




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                                                                          1                                 PROOF OF SERVICE OF DOCUMENT
                                                                                                                 Case No. 3:22-cv-05937-CRB
                                                                          2                                  Giuseppe Pampena, et al. v. Elon Musk
                                                                          3                       STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
                                                                          4
                                                                                     I am a citizen of the United States and employed in Los Angeles County, California. I am over
                                                                          5   the age of eighteen years and not a party to this action. My business address is Leech Tishman Nelson
                                                                              Hardiman, Inc., 1100 Glendon Avenue, 14th Floor, Los Angeles, California 90024.
                                                                          6
                                                                                      On May 28, 2025, I served the attached document described as: STIPULATION ON FILING
                                                                          7   DEADLINE FOR JOINT DISCOVERY LETTER AND [PROPOSED] ORDER on the interested
                                                                          8   parties in this action as follows:

                                                                          9   ☐ Via US Mail: I enclosed the document(s) in a sealed envelope or package addressed to the persons at
                                                                              the addresses listed in the Service List and placed the envelope for collection and mailing, following our
                                                                         10   ordinary business practices. I am readily familiar with the firm’s practice for collecting and processing
LEECH TISHMAN NELSON HARDIMAN, INC.




                                                                         11   correspondence for mailing. On the same day that correspondence is placed for collection and mailing, it
                                                                              is deposited in the ordinary course of business with the United States Postal Service, in a sealed envelope
                                                                         12   with postage fully prepaid. I am a resident or employed in the county where the mailing occurred.
                                      1100 GLENDON AVENUE, 14TH FLOOR,




                                                                         13
                                            LOS ANGELES, CA 90024




                                                                              ☒ Via Email: Based on a written agreement of the parties to accept service by email, I caused the
                                                                              document(s) to be sent to the persons at the email service addresses included on the attached service list.
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                                                                         15   ☒ Via CM/ECF Electronic Filing: I caused the above document(s) to be transmitted to the office(s) of
                                                                              the addressee(s) listed by electronic mail at the e-mail address(es) set forth above pursuant to
                                                                         16   Fed.R.Civ.P.5(b)(2)(E). "A Notice of Electronic Filing (NEF) is generated automatically by the ECF
                                                                              system upon completion of an electronic filing. The NEF, when e-mailed to the e-mail address of record
                                                                         17   in the case, shall constitute the proof of service as required by Fed.R.Civ.P.5(b )(2)(E). A copy of the
                                                                         18   NEF shall be attached to any document served in the traditional manner upon any party appearing “pro
                                                                              se."
                                                                         19

                                                                         20   ☒ (Federal) – I declare that I am employed in the office of a member of the bar of this Court at whose
                                                                         21   direction the service was made.

                                                                         22
                                                                                     I declare under penalty of perjury under the laws of the United States that the foregoing is true
                                                                         23   and correct.
                                                                         24

                                                                         25          May 28, 2025            Matthew Mocciaro                      /s/ Matthew Mocciaro
                                                                                     Date                   Printed Name                           Signature
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